  Case 5:21-cv-05131-TLB Document 2                       Filed 07/20/21 Page 1 of 23 PageID #: 3




                                 UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF ARKANSAS
                                       FAYETTEVILLE DIVISION
   ---------------------------------------------:
   Clint Schnekloth                             :
                              Plaintiff,        :
                     v.                         :
   Patrick Deakins, Washington Co.              :
   Arkansas Justice of the Peace                :
   in his individual and official               :
   capacities;                                  :
   Sam Duncan, Washington Co.                   :
   Arkansas Justice of the Peace                :
   in his individual and official               :
   capacities;                                  :
   Jim Wilson, Washington Co.                   :
   Arkansas Justice of the Peace                :
   in his individual and official               :
   capacities;                                  :
   Brian Lester, Washington Co.                 :
   Attorney, in his individual and              :
   official capacities,                         :         Case No. ______________
                              Defendants.       :
   -------------------------------------------- :
                                               COMPLAINT
                             I.     PRELIMINARY STATEMENT
1. Free speech is the foundation of a free society.1 On June 28, 2021, and July 15, 2021,

   Defendants in this case deprived Plaintiff, Clint Schnekloth, of his guaranteed rights of

   speech and participation in democratic government.


   1
    “If there is any fixed star in our constitutional constellation, it is that no official, high or petty, can
   prescribe what shall be orthodox in politics, nationalism, religion, or other matters of opinion or force

                                                      1
  Case 5:21-cv-05131-TLB Document 2                        Filed 07/20/21 Page 2 of 23 PageID #: 4




2. This is a civil rights action in which Mr. Schnekloth, seeks relief from Defendants’

   violation of his rights, privileges, and immunities secured by the Civil Rights Act of

   1871, 42 U.S.C. § 1983 and the First and Fourteenth Amendments to the United States

   Constitution, the Equal Protection Clause, and Title II of the Civil Rights Act of 1964, 42

   U.S.C. § 2000(a), et seq.

3. Mr. Schnekloth was unlawfully removed from the Washington County, Arkansas,

   Courthouse on two occassions during legislative debate and public comment at Quorum

   Court meetings on June 28, 2021, and July 15, 2021, in violation of his First and

   Fourteenth Amendments to the United States Constitution, the Equal Protection Clause,

   and Title II of the Civil Rights Act of 1964.

4. As a consequence, Mr. Schnekloth was not able to provide public comment or participate

   in the public meetings.           His removal was unlawful and based on unconstitutional

   restrictions on his First Amendment rights and impermissible government viewpoint

   discrimination.

5. The government sessions were open to the public. On the agenda for the June 28, 2021,

   Quorom Court meeting were the local Public Defender’s office and its lack of access for

   clients and non-compliance with the Americans with Disabilities Act due to government

   inaction to fix basic problems; funding to maintain the Northwest Arkansas Crisis

   citizens to confess by word or act their faith therein.” W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624,
   642 (1943) (holding disiplinary action against students for exercising a closely held religious belief against
   saluting icons was violated the First Amendment); see also Whitney v. California, 274 U. S. 357, 376
   (1927) (Brandeis, J. concurring) (“Men feared witches and burnt women. It is the function of speech to free
   men from the bondage of irrational fears.”); William O. Douglass, The One Un-American Act, NIEMAN
   REPORTS, vol. 7, no. 1 (Jan. 1953), https://t.ly/6YEQ (“Restriction of free thought and free speech is the
   most dangerous of all subversions. It is the one un-American act that could most easily defeat us.”). Many
   of these cases with the most quotable Supreme Court Justices’ phrases involved fringe political viewpoints.
   This is telling. In contrast, Mr. Schekloth’s speech is policy based and focused on his local government
   dispersing federal stimulus and rent relief funds.




                                                       2
 Case 5:21-cv-05131-TLB Document 2                  Filed 07/20/21 Page 3 of 23 PageID #: 5




   Stabilization Unit; an update on the County’s lapsed recyling program; the distribution of

   CARES ACT and AMERICAN RELIEF ACT funds; and “Resolution Declaring

   Washington County is a Pro Life County.”

6. Sam Duncan ordered a Washington County Deputy Sheriff to remove Mr. Schnekloth on

   June 28, 2021, from a public Quorom Court County Services Committee Meeting for no

   apparent reason and without any good cause and outside of his lawful legislative

   authority. Defendant Lester facilitated this civil rights violation while presiding over the

   Quorum Court meeting as the County Attorney. Mr. Schekloth’s removal was outside of

   Defendant Lester’s authority as County Attorney, and an example of deliberate

   indifference to Mr. Scheckloth’s civil rights.

7. At July 15, 2021, meeting, the Agenda included the dispersal of AMERICAN RELIEFT

   ACT funding, a “Resolution Declaring Washington County is a Pro Life County;”

   Defendant Lester’s second raise of 2021, and a raise for County Judge Joseph Wood.

8. Patrick Deakins ordered a Washington County deputy sheriff to remove Mr. Schnekloth

   on July 15, 2021, right before the beginning of the Quorom Court Meeting for no

   apparent reason and without any good cause and outside of his lawful legislative

   authority. Before the meeting began, Jim Wilson impermissibly inquired into whether

   Mr. Schnekloth “personally knew Jesus” seemingly based on an opinion he expected Mr.

   Schnekloth to express during the public comment portion of the meeting.

9. Defendants have implemented and are continuing to enforce, encourge, or sanction an

   official policy, custom, or practice of unconstitutionally detaining and removing

   constituents during public Quorum Court meetings in violation of the First and Fourth




                                               3
  Case 5:21-cv-05131-TLB Document 2                   Filed 07/20/21 Page 4 of 23 PageID #: 6




   Amendments. Their failure to remedy this official and ongoing civil rights violation

   amounts to deliberate indifference.

10. In addition, Defendants’ official custom, pattern, and practice of inquiring into

   constitutents’ religious views and only removing or censuring constituents with

   viewpoints who disagree with the Defendants’ violates the Equal Protection Clause of the

   Fourteenth Amendment and Title II of the Civil Rights Act of 1964.

11. The County does not have a policy for when it is procedurally appropriate to remove a

   person from a public Quorum Court meeting, and, if anything, it appears the official

   practice is in flux. It is not clear if it is an executive branch function, and if it is, the

   executive branch is not the one ordering constituents’ removal.           Instead it is the

   legislative branch.

12. There is no legislative authority in the County’s rules for legislators to order a person’s

   removal (nor has there been any delegation of executive authority), yet it is legislative

   officials who are ordering the removal of people, such as Mr. Schnekloth, in violation of

   his civil rights. Defendants’ have shown deliberate indifference in halting these violations

   or creating constitutionally adequate procedures.

13. The Sheriff and deputy sheriffs do not have training or guidance on when they may (or

   must) act to remove people from public meetings. At times, County officials have said it

   may only be done by the County Judge using his executive authority. At other times, the

   Sheriff has stated discretion lies with him.

14. The official custom, policy, or practice is: if a Justice of the Peace points and requests a

   person’s removal, someone is removed and prohibited from exercising their right to

   speak.



                                                  4
  Case 5:21-cv-05131-TLB Document 2                   Filed 07/20/21 Page 5 of 23 PageID #: 7




15. The result is a an official custom, policy, or practice of violating constituents’ civil rights,

    awkward local government meetings, anxious interactions with deputy sheriffs who

    appear frustrated they are ordered to remove people without due proccess or good cause,

    and a chilling effect on protected speech.

16. This happened twice to Mr. Schnekloth and was a violation of his civil rights on both

    occasions.

17. The violations of Mr. Schnekloth’s civil rights were the direct and proximate cause of the

    policies, practices and customs of Defendants. Defendants have acted with a deliberate

    indifference for Mr. Schnekloth’s civil rights.

18. Mr. Schnekloth requests an enforceable policy that protects all community members’

    First Amendment Rights, prevents viewpoint discrimination that violates the Equal

    Protection Clause and Civil Rights Act of 1964, and clarifies the process for removing a

    person from a public meeting or censoring a person’s speech that is lawful and provides

    clear guidance to legislators, executive officials, law enforcement, and the public.

19. Stated simply, Mr. Schekloth is asking (1) that the Defendants’ restrictions on his free

    speech and civil rights on June 28 and July 15, 2021, be recognized as unlawful, and (2)

    the County create and enforce a procedure for allowing public comment and removing

    people from public meetings that is constitutitional.

20. At all times relevant to this action, Defendants have violated clearly established

    constitutional and federal law.

21. Mr. Schnekloth demands a jury trial on each of his claims pursuant to his Seventh

    Amendment right.




                                                  5
  Case 5:21-cv-05131-TLB Document 2                 Filed 07/20/21 Page 6 of 23 PageID #: 8




                                    JURISDICTION AND VENUE

22. This Court has subject matter jurisdiction over this action pursuant to 42 U.S.C. § 1983,

   United States Constitution Amend. I, the Equal Protection Clause and Title II of the Civil

   Rights Act of 1964 under 28 U.S.C. §§ 1331 and 1343(a)(3)-(4).

23. Mr. Schnekloth seeks both monetary and injuntive relief as authorized by 28 U.S.C. §§

   2201 and 2202 and Federal Rule of Civil Procedure 57.

24. This Court has personal jurisdiction over the parties.

25. Venue in this judicial district is proper under 28 U.S.C § 1391(b) and (c) because all

   parties reside or are located in Washington County, Arkansas.

                                            PARTIES

26. Plaintiff, Mr. Schnekloth, is a forty-nine-year-old progressive Lutheran minister and

   community organizer who resides in Fayetteville, Arkansas, and is a critic of some

   Washington County government policies, including the local government’s failure to

   distribute COVID-19 relief money, respect repoductive rights, provide reasonable pay for

   county employees, or treat people equally. Prior to the June 28, 2021, and July 15, 2021,

   Quorum Court meetings he helped organize and participated in peaceful and lawful

   demonstrations in the Washington County Courthouse parking lot on these issues. Mr.

   Schnekloth supports reproductive rights, but was specifically interested in speaking on

   the issues of distributing stimulus money and rent relief. Defendants’ conduct denied Mr.

   Schnekloth the opportunity to fully attend the public meetings or make public comment

   and violated his civil rights.

27. Defendants Patrick Deakins, Sam Duncan, and Jim Wilson are elected Justices of the

   Peace for Washington County, and members of the Washington County Quorum Court,



                                                6
  Case 5:21-cv-05131-TLB Document 2                 Filed 07/20/21 Page 7 of 23 PageID #: 9




   the County Government’s legislative body. They are all sued in their individual and their

   official capacities.

28. Defendant Brian Lester is the appointed County Attorney for Washington County,

   Arkansas, and acts as the functional parliamentarian and chair of most Quroum Court

   meetings. He is appointed by the Washington County Judge, who is the Executive in

   Chief for Washington County. Defendant Lester is sued in his individual and official

   capacities.

29. The Washington County Government is the municipal Defendant, as all parties have been

   sued in their official capacities, for causing a depriviation of Mr. Schnekloth’s civil rights

   through its deliberate indifference and its official policies, practices, and customs of

   removing members of the public during Quorum Court meetings in violation of their First

   Amendment rights based on unlawful viewpoint discrimination. Quorum Court meetings

   are open to the public, typically held in person, and have seating within a legislative room

   for constituents and seating outside the room where people may attend the legislative

   meeting and watch without participating.

                                     FACTUAL STATEMENT

                          A. Mr. Schnekloth’s Interactions with Defendants

   30. Defendants’ frustration with Mr. Schnekloth’s political viewpoints seemingly began

   after Mr. Schnekloth co-wrote a letter in the Arkansas Democrat Gazette on November

   14, 2020, titled “Agencies Can’t Meet the Demand in [Northwest Arkansas].” The letter

   stated:

             We understand that here, at year-end, some municipal, county and state

             entities will receive or designate funds for covid-19 relief. The virus has



                                                7
Case 5:21-cv-05131-TLB Document 2                  Filed 07/20/21 Page 8 of 23 PageID #: 10




           affected so many areas of our lives, and there are a lot of competing

           priorities. As persons of faith and community leaders, we are writing to

           advocate that this relief primarily address the needs of those who are often

           forgotten: people experiencing homelessness and housing insecurity.

 31. While County Government refused to release CARES ACT money for rent relief,

 tensions heightened following a surge in unhoused people and a breakdown in

 government decision making during the Spring of 2021.

 32. Mr. Schnekloth expanded his protest to speaking out against the consistent exclusion

 of Washington County Justices of the Peace (“JP”) Eva Madison and Evelyn Rios

 Stafford from legislative debate. During the pandemic’s Zoom Quorum Court meetings,

 Defendant Lester would mute JP Madison and JP Rios Stafford using his control of the

 Zoom meetings. When in-person meetings restarted in late spring, Defendant Lester and

 Defendant Deakins would often prevent JP Madison and JP Rios Stafford from speaking

 during legislative sessions, by excluding them from sessions, asserting they were out of

 order, or requiring them to speak on behalf of consitutents during the limited public

 comment period in contravention of the Quorum Court’s procedural rules for legislative

 debate.

 33. In response, Mr. Schnekloth helped organized a public Facebook group called

 Washington County Cares to share information about local government. Mr. Schnekloth

 also routinely encouraged and participated in writing letters and emails to Defendants and

 sent Defendants several requests pursuant to Arkansas’ Freedom of Information Act.

 34. Among the issues Mr. Schekloth consistently protested were the exclusion of women

 and Democratic Quorum Court members from public debate, the reduction in public



                                               8
Case 5:21-cv-05131-TLB Document 2                      Filed 07/20/21 Page 9 of 23 PageID #: 11




 comment time at many Quorum Court meetings,2 the passing of two exorbitant raises to

 the County Attorney, Defendant Lester, and his purchase of a luxury vehicle using

 government funds. Mr. Schnekloth also campaigned against Defendants’ witholding of

 federal government stimulus funds in contravention to their intended purpose to provide

 emergency relief to local residents, and the strategic slow distribution of $7.1 million in

 rent relief as Washington County experiences a housing crisis.3

                                      B. June 28, 2021, Events

 35. At the June 28, 2021, Quorum Court Meeting, Mr. Schnekloth participated in a lawful

 and peaceful protest outside the County Courthouse where the meeting would be held in

 person.    On the agenda for the June 28, 2021, Quorom Court’s County Services

 Committee Meeting were problems with the local Public Defender’s office—specifically

 its lack of access for clients and non-compliance with the Americans with Disabilities

 Act; funding to maintain the Northwest Arkansas Crisis Stabalization Unit; an update on

 the County Government’s lapsed recyling program; the distribution of CARES ACT and

 AMERICAN RELIEF ACT funds; and, added a few days before the meeting, and a

 “Resolution Declaring Washington County is a Pro Life County,” which was sponsored

 by Defendant Deakins.

 36. The meeting was well attended by members of the public and media. The legislative

 agenda had several issues of public importance, including many Mr. Schnekloth wished

 to speak about.

 2
   Washington County’s Quorum Court rules require only twelve minutes of public comment. Members of
 the public are capped at three minutes of time per speaker. Before 2021, motions to extend time for public
 comment to allow more speakers to express viewpoints had been matters of course, but became restricted
 as public comment became more negative toward Defendants.
 3
   For example, Mr. Schnekloth often receives calls from community members about their need for rent
 relief and has attempted to make public comment about the fact the Fayetteville Housing Authority’s rent
 relief funding is exhausted and applications were close in March 2021 while the Quorum Court has not
 distributed about $4 million in rent relief.

                                                   9
Case 5:21-cv-05131-TLB Document 2             Filed 07/20/21 Page 10 of 23 PageID #: 12




  37. Before the beginning of the meeting, Defendants Lester and Duncan excluded JP

  Madison from fully participating in legislative debate by forcing her to sit with the crowd

  in the Quorum Court’s galley. Mr. Schnekloth stood and calmly said to the crowd in

  protest, “look what they’ve done, they’ve excluded one of the only two women and

  Democrats present from the meeting.”

  38. A traditional Unitarian Universalist prayer was then led by a minister selected by JP

  Rios Stafford, who was heckled by several members of the public for not being

  sufficiently evangelical. For example, several community members began shouting “in

  Jesus’ name” and “say his name” during the prayer and at its conclusion.

  39. JP Madison was taunted by some people as a “princess” for attempting to sit with the

  other Quroum Court members, for questioning Defendant Lester about problems with the

  public defender’s office and recycling services, and for attempting to speak about her

  personal experience of raising an adopted child to provide context on what it means to be

  “pro-life.” JP Rios Stafford was ridiculed by others for not having a uterus.

  40. Debate then commenced on the Agenda without major interruption on several of the

  items with the exception of several loud public comments about the lack of a safe and

  functional office for the employees and clients of the public defender. One member of

  the Public Defender’s office, for example, stood and said, “it’s always my office with no

  air conditioning,” and there were numerous interruptions as Defendant Lester argued with

  JP Madison about her ability to join the debate as an elected legislator before excluding

  her from full participation.




                                             10
Case 5:21-cv-05131-TLB Document 2               Filed 07/20/21 Page 11 of 23 PageID #: 13




  41. At this point, the Quorum Court meeting, like many public meetings had significant

  public talkback. There was no enforcement of public silence. The general tone of the

  meeting was similar to a typical House of Commons debate in the United Kingdom.4

  42. Right before Defendant Deakins’ presentation of his proposed Resolution Declaring

  Washington County is a Pro Life County, Defendant Duncan instructed sheriff deputies

  to enter the room to remove any people who made interruptions or comments about the

  proposed resolution. Many crowd members then reacted with talkback such as, “this

  sounds like a threat.” At this point, Defendant Duncan appeared agitated and repeatedly

  said “order,” and emphasized the sheriffs deputies would enforce respectful behavior and

  remove people.

  43. This set a premature and unneeded tone that formally changed the mood of the

  meeting and acted as a form of viewpoint discrimination because Defendant Duncan had

  silenced some types of what had been permitted speech with threats of arrest.

  44. Defendant Deakins’ than recited his statement of purpose for his Resolution while

  recieving both boos and cheers from the crowd. Eventually, Defendant Deakins stated

  his hope for the resolution was that “we can deliver a succinct message and plow fertile

  ground in this County so that our organizations and citizens can work that ground to

  harvest benefits for years to come for everyone, including and especially for the unborn

  child.”

  45. At this point, many constituents audibly groaned and laughed at Defendant Deakins’

  use of a metaphor historically used to justify the forced reproduction of enslaved women,

  rape of women of all backgrounds, and the dehumanization of women.


  4
   “Democracy is not polite. It’s often a shouting match in a public square.” SALMAN RUSHDIE, THE
  LANGUAGES OF TRUTH, 224 (2021).

                                               11
Case 5:21-cv-05131-TLB Document 2             Filed 07/20/21 Page 12 of 23 PageID #: 14




  46. Lots of people shouted in both opposition and support of Defendant Deakins’

  Resolution. The room’s loudest shouts, however, condemned Defendant Deakins’

  proclamations about women being reproductive factories. His misogyny was met with

  many calls for equality.

  47. One woman was removed after speaking from the front row for a few seconds about

  the offensiveness of the resolution to women and saying that Defendant Deakins has

  exceeded his allowed time of three minutes to speak. So, Defendant Duncan pointed a

  finger toward her and said, “take her out,” to the deputy sheriffs on standby. The woman

  was physically removed, without restraints, but began to shout as she was pushed out of

  the room.

  48. Mr. Schnekloth then called out from his seat to protest the unfairness of Defendant

  Duncan’s action. Defendant Duncan pointed at Mr. Schnekloth. Defendant Duncan, said

  “Clint, please” and ordered him removed. Mr. Schnekloth replied in disbelief and asked

  why the woman was removed, and why he was being removed before peacefully

  complying with the sheriff deputy who was ordered by Defendant Duncan to remove Mr.

  Schnekloth from the building.

  49. Defendant Wilson then made a motion to extend time for Defendant Deakins to

  describe his Resolution, which was seconded.

  50. No other people were ordered removed after Mr. Schnekloth, although the talkback

  from the crowd increased, and no people voicing viewpoints in favor of Defendants’ were

  told to be quiet, threatened, or removed.

  51. JP Madison attempted to participate in the debate, but was excluded by Defendants

  Duncan and Lester after a lengthy back and forth about Quorum Court procedure



                                              12
Case 5:21-cv-05131-TLB Document 2               Filed 07/20/21 Page 13 of 23 PageID #: 15




  between Defendant Lester and JP Madison. The interaction concluded with Defendant

  Lester instructing everyone to move on and telling JP Madison to sit down with the

  crowd. JP Rios Stafford made a motion to amend the Resolution to be inclusive with

  language about protecting life in many ways, which was not seconded.

  52. Public comment then began for twelve minutes on all agenda items, including

  Defendant Deakins’ Resolution. Defendant Duncan ordered that a speaker from each

  side be allowed to talk in alternating turns after the first speaker and, attempted, second

  speaker in line spoke against several of the Quorom Court members’ statements

  throughout the evening.

  53. Four community speakers were permitted before a motion to end debate was

  introduced.    At this point, aproximately thirty members of the public were in line to

  make public comment.        The next member of the public who in line to speak was

  Episcopalian Minister Lowell Grisham, who was expected to speak in protest to

  Defendant Deakins’ resolution.       JP Rios Stafford made a motion to extend time for

  public comment, which was not seconded and the meeting adjourned.

                                    C. July 15, 2021, Events

  54. Following the June 28, 2021, meeting, Defendants restricted constituents’ ability to

  comment by removing the official contact information for the Justices of the Peace from

  the County website, and deleting the “alljps@washingtoncountyar.gov” email address

  that allowed constituents to easily contact their elected officials.

  55. Mr. Schnekloth and others organized and attended a peaceful protest for the July 15,

  2021, Quorum Court meeting. On the Agenda that day was a second spring raise for




                                               13
Case 5:21-cv-05131-TLB Document 2                      Filed 07/20/21 Page 14 of 23 PageID #: 16




  Defendant Lester; a raise for County Judge Joseph Wood; and a full Quorum Court vote

  on Defendant Deakins’ Resolution.

  52. That evening, before the meeting, Defendants increased the security around the

  Quorum Court members and County Courthouse and overtly parked a Sheriff’s transport

  van to take people arrested to the County Jail. During the lawful and peaceful protest,

  pizza was served, signs were waved, and County officials were occassionally booed or

  cheered as they entered the Courthouse for the legislative session.

  56. While entering the Courthouse to take his seat on the Quorum Court, Defendant

  Wilson approached Mr. Schnekloth, after Mr. Schnekloth shouted at him, “do better.

  Defendant Wilson asked Mr. Schnekloth, “do you know Jesus.” Mr. Schnekloth

  responded, “yes.” Defendant Wilson than rhetorically remarked, “personally?” before

  walking by Mr. Schnekloth into the building under escort by Washington County Sherriff

  deputies.5

  57. A few minutes later, before the Quorum Court meeting began, Mr. Schnekloth moved

  toward the front of the crowd and peacefully approached Defendant Deakins like a

  normal person. Mr. Schnekloth was joining another constituent, who was speaking in

  support of Mr. Deakins’ Resolution.               Mr. Schnekloth raised concerns to Defendant

  Deakins about Defendant Deakins mocking the woman on Twitter who was removed at



  5
    This is constistent with other Justice of the Peaces’ intereactions with Mr. Schnekloth. For instance, in an
  email dated May 8, 2021, Justice of the Peace Butch Pond responded to Mr. Schnekloth’s policy based
  email about Defendant Lester being awarded a $20,000 raise that month while many employees make the
  minimum wage of $11 an hour. JP Pond responded, “I have been remembering you in my prayers. May the
  Lord lift his Countenance upon you ……. [sic]” while avoiding the substance of the public comment. This
  is in line with several Justices of the Peace’s sectarian bend underlying their viewpoint discrimination
  based on religious beliefs. See RUSHDIE, supra, at p. 244-246 (remarking on the intersection of religion
  and politics that “some religious folks can perpretrate attacks on other folks’ freedoms by redefining the
  word ‘liberty’ to mean something like ‘divinely authorized bigotry.’”).



                                                      14
Case 5:21-cv-05131-TLB Document 2                   Filed 07/20/21 Page 15 of 23 PageID #: 17




  the June 28, 2021, meeting for having airmpit hair.6 Defendant Deakins, who was not

  chairing the meeting, then asked the Washington County Sheriff Department to remove

  Mr Schnekloth.

  58. At this point, and at all times, Mr. Schenckloth was acting lawfully and peacefully,

  and the meeting was about to start. Under the instruction of Defendants, deputy sheriffs

  ordered Mr. Schnekloth to leave the meeting and building. Mr. Schnekloth did not resist

  and peacefully left the building. He was denied the opportunity to attend the meeting and

  speak by Defendants’ conduct.

  59. At the July 15, 2021, meeting a motion to extend time to allow comment by all

  members of the public was made. This shows that if Mr. Schnekloth had not been

  removed by Defendant Deakins, he would have been able attend and, importantly, to

  speak at the Quorum Court meeting.

  60. Following the meeting Mr. Schnekloth, received an email from Sheriff Helder

  addressing his removal.

  61. Sheriff Helder also commented to others after the July 15, 2021, meeting that his

  understanding was the removal of a person from a public Quroum Court meeting is an

  executive function. Sheriff Helder seemed to believe people can only be removed if the

  County Judge orders removal, but also stated that he had learned a lot from the last

  meeting. Sheriff Helder stated, in the future, he would try to use discretion when making

  arrests or removing people.




  6
    In an odd turn of events, a photo of the woman removed at the June 28, 2021, meeting went viral on
  social media. Defendant Deakins, from his personal Twitter account, endorsed a view that “maybe she was
  removed for not shaving her armpits.”

                                                   15
Case 5:21-cv-05131-TLB Document 2               Filed 07/20/21 Page 16 of 23 PageID #: 18




          D. Official Policies, Practices, or Customs and Deliberate Indifference
                       Deprived Mr. Schnekloth of his Civil Rights

  62. Defendants’ violation of Mr. Schnekloth’s civils rights is a direct and proximate

  cause its official policies, practices, and customs. The County Government’s current

  procedures and measures are insufficient to deter future civil rights violations, and, if

  anything, appear to encourage or sanction impermissible viewpoint discrimination and

  stop protected free speech.

  63. The County does not have a procedure for when it is appropriate to remove a person

  from a public Quorum Court meeting and its official policy, custom, or practice is if a

  Justice of the Peace requests removal (for whatever reason), a person is removed. Yet,

  the County does not have a policy in place that authorizes Justices of the Peace to order

  removal as part of their legislative authority.

  64. This prevents constituents, such as Mr. Schnekloth, from exercising their First

  Amendment rights, and is not a permissible regulation of speech or narrowly tailored as

  needed for limitations on protected speech.

  65. The County, instead, has an official policy, custom, and practice of removing people

  based on impermissible viewpoint discrimination. Defendants have ignored fixing or

  even acknowledging this problem.

  66. Defendants’ have failed to train officers and employees on when the removal of a

  person is appropriate, and shown deliberate indifference to civil rights violations by its

  failure to remedy violations or create proactive policies.

  67. At times, County officials have said constituents may only be removed by the County

  Judge using his executive authority. At other times, the Sheriff has stated ultimate

  discretion lies with him.


                                                16
Case 5:21-cv-05131-TLB Document 2               Filed 07/20/21 Page 17 of 23 PageID #: 19




  68. Justices of the Peace have been ordering removal of people, but have no legislative

  authority or delegation of executive authority to order removal.

  69. Consequently, the County, through the actions of its officials, has an official policy,

  custom, or practice of discouraging protected speech, specifically from adverse

  viewpoints, by actions that have a chilling effect on lawful speech through threats of

  removal and arrest, questioning of constituents’ religious beliefs, and actual removal of

  constituents who express viewpoints in disagreement with Defendants’ political or

  religious views.

                                            FIRST CLAIM

    Violation of Mr. Schnekloth’s First Amendment Rights Pursuant to 42 U.S.C. §
                  1983 on June 28, 2021, By All Named Defendants

  70. Mr. Schnekloth incorporates and realleges the preceeding parapaphs of his

  Complaint.

  71. Defendants violated Mr. Schnekloth’s First Amendment Rights by ordering his

  removal from the June 28, 2021, Quorum Court meeting. Through the individual actions

  of Defendants and the County Government’s official policy, custom, and practice, and

  deliberate indifference they prevented Mr. Schnekloth from participating in his

  constitutionally protected right to discuss and speak on issues of local government. See

  e.g., Monell v. Department of Social Services, 436 U.S. 658 (1978) (establishing that a

  municipality or local government is a person for purpose of a Section 1983 action);

  Canton v. Harris, 489 U.S. 378 (1989) (establishing that failure to train or enforce a

  policy when a constitutional violation was obvious amounted to deliberate indifference

  sufficient to create Monell liability).




                                                17
Case 5:21-cv-05131-TLB Document 2              Filed 07/20/21 Page 18 of 23 PageID #: 20




  72. Beginning in 1940, in striking down a loitering statute, the Supreme Court

  recognized, “[t]he freedom of speech and of the press guaranteed by the Constitution

  embraces at the least the liberty to discuss publicly and truthfully all matters of public

  concern without previous restraint or fear of subsequent punishment. . . . Freedom of

  discussion, if it would fulfill its historic function in this nation, must embrace all issues

  about which information is needed or appropriate to enable the members of society to

  cope with the exigencies of their period.” Thornhill v. Alabama, 310 U.S. 88, 101-102

  (1940); see also Cantwell v. Connecticut, 310 U.S. 296 (1940) (incorporating the First

  Amendment through the Fourteenth Amendment to apply to the States).

  73. The Quorum Court meetings on June 28 was without a doubt a designated public

  forum. See Ark. Educ. Television Comm’n v. Forbes, 523 U.S. 666, 678 (1998). Courts

  have long recognized that discussion of public issues lies “at the heart of the First

  Amendment,” and public meetings of governmental bodies must comply with the First

  Amendment and may not discriminate based on viewpoints or speakers. First Nat’l Bank

  of Bos. v. Bellotti, 435 U.S. 765, 776 (1978) (criticizing a legislature’s attempt to give

  one side of a debatable public question an advantage in expressing its views to the

  people).

  74. Here, Mr. Schnekloth attempted to participate in an open, public meeting of

  government and attempted to speak on the issues of the agenda, but was removed without

  any legitimate government purpose by the individual conduct and pursuant to an official

  custom, policy or practice, which directly and proximately violated his First Amendment

  rights. See e.g., Surita v. Hyde, 665 F.3d 860 (7th Cir. 2011) (holding a Mayor violated a

  political opponent’s First Amendment rights when barring her from speaking based on



                                              18
Case 5:21-cv-05131-TLB Document 2             Filed 07/20/21 Page 19 of 23 PageID #: 21




  prior speech because a total bar was not constitutionally permissible even if it was

  content neutral, and denying qualified immunity to the officers who enforced the speech

  restriction); Baca v. Moreno Valley Unified Sch. Dist, 936 F. Supp. 719 (C.D. Cal. 1996)

  (holding school board policy of prohibiting critical comments during open input meetings

  violated the First Amendment).

                                   SECOND CLAIM
   Violation of Mr. Schnekloth’s Rights under the Equal Protection Clause Pursuant
            to 42 U.S.C. § 1983 on June 28, 2021, By All Named Defendants

  75. Mr. Schnekloth incorporates and realleges the preceeding parapaphs of his

  Complaint.

  76. Defendants violated Mr. Schnekloth’s rights under the Equal Protection Clause by

  ordering his removal from the June 28, 2021, Quorum Court meeting.

  77. The Equal Protection Clause of the Fourteenth Amendment protects individuals from

  discrimination by the government, including based on religious beliefs. Through the

  individual actions of Defendants and the County Government’s official policy, custom,

  and practice, they prevented Mr. Schnekloth from participating in his constitutionally

  protected right to discuss and speak on issues of local government.

  78. A government, including Defendants, has only a limited ability to regulate expressive

  activity in traditional and designated public forum. Any viewpoint discrimination is

  presumptively unconstitutional.

  79. A viewpoint or content-based exclusion of speech is, therefore, subject to strict

  scrutiny, meaning that the government must show the exclusion “is necessary to serve a

  compelling state interest and that it is narrowly drawn to achieve that end.” Perry Educ.

  Ass’n v. Perry Local Educators’ Ass’n, 460 U.S. 37, 45 (1983).



                                             19
Case 5:21-cv-05131-TLB Document 2              Filed 07/20/21 Page 20 of 23 PageID #: 22




  80. Again, Courts have long recognized that, “above all else, the First Amendment means

  that government has no power to restrict expression because of its message, its ideas, its

  subject matter, or its content. . . . The essence of forbidden censorship is content control.”

  Police Dept. of Chicago v. Mosley, 408 U.S. 92, 96 (1972) (holding that a content based

  restriction on protesting violated the Equal Protection Clause).

  81. Viewpoint based restrictions on speech by the Government are forbidden because of

  the Constitution’s “guarantee of a profound national commitment to the principle that

  debate on public issues should be uninhibited, robust, and wide-open, and that it may

  well include vehement, caustic, and sometimes unpleasantly sharp attacks on government

  and public officials.” New York Times Co. v. Sullivan, 376 U.S. 254, 270 (1964).

  82. While Mosley was a picketing case, its language is compelling that “under the Equal

  Protection Clause, not to mention the First Amendment itself, government may not grant

  the use of a forum to people whose views it finds acceptable, but deny use to those

  wishing to express less favored or more controversial views.” Mosley, 408 U.S. at 96.

  83. Governments should safeguard the equality of status in the field of ideas, and

  government allows an equal opportunity for all viewpoints to be heard. Id. at 97. Time,

  place, and manner regulations on speech must serve a significant government interest.

  See e.g., Cox v. New Hampshire, 312 U.S. 569, 575-576 (1941).

  84. Here, Mr. Schnekloth’s removal and censuring based on his prior interactions and

  viewpoints with Defendants was not based on any significant interest or even a legitimate

  government interest in preserving public order. The facts that no people other than Mr.

  Schnekloth and one other woman were removed, and that no one who expressed a




                                               20
Case 5:21-cv-05131-TLB Document 2             Filed 07/20/21 Page 21 of 23 PageID #: 23




  viewpoint that supported Defendants’ was removed, censored, or silenced shows

  Defendants’ viewpoint discrimination.

                                    THIRD CLAIM
  Violation of Mr. Schnekloth’s First Amendment Rights Pursuant to 42 U.S.C. 1983
                     § on July 15, 2021, By All Named Defendants

  85. Mr. Schnekloth incorporates and realleges the preceeding parapaphs of his

  Complaint.

  86. Defendants violated Mr. Schnekloth’s civil rights at the July 15, 2021, Quorum Court

  meeting by ordering his removal before the meeting began. Through the individual

  actions of defendants and the County Government’s official policy, custom, and practice,

  they prevented Mr. Schnekloth from participating in his constitutionally protected right to

  discuss and speak on issues of local government.

  87. At this meeting, the time to speak during public comment was extended, but Mr.

  Schnekloth was removed before the meeting even started. If he had not been banned by

  Defendants at the beginning of the meeting, Mr. Scheckloth would have been allowed to

  provide public comment.

                                  FOURTH CLAIM
   Violation of Mr. Schnekloth’s Rights under the Equal Protection Clause Pursuant
            to 42 U.S.C. § 1983 on July 15, 2021, By All Named Defendants

  88. Mr. Schnekloth incorporates and realleges the preceeding parapaphs of his

  Complaint.

  89. Defendants violated Mr. Schnekloth’s rights under the Equal Protection Clause by

  ordering his removal from the July 15, 2021, Quorum Court meeting. Through the

  individual actions of defendants and the County Government’s official policy, custom,




                                             21
Case 5:21-cv-05131-TLB Document 2             Filed 07/20/21 Page 22 of 23 PageID #: 24




  and practice, they prevented Mr. Schnekloth from participating in his constitutionally

  protected right to discuss and speak on issues of local government.

  90. At this meeting, the time to speak during public comment was extended, but Mr.

  Schnekloth was removed before the meeting even occurred. Based on his prior removal,

  the comments made by Mr. Wilson and Mr. Deakins, and the Defendants’ official policy

  of restricting negative viewpoints and personal dislike of Mr. Schnekloth he was banned

  from a meeting where he would have been able to make public comment. Importantly,

  all members of the public in attendence were allowed to speak.

                                     FIFTH CLAIM
      Violation of Mr. Schnekloth’s Rights Title II of the Civil Rights Act of 1964
   Pursuant to 42 U.S.C. §1983 on July 15, 2021, by Defendants Deakins and Duncan
                       in their Individual and Official Capacities

  91. Mr. Schnekloth incorporates and realleges the preceeding parapaphs of his

  Complaint.

  92. Defendants violated Mr. Schnekloth’s Rights under the Equal Protection Clause

  under the First and Fourteenth Amendments by ordering his removal from the July 15,

  2021, Quorum Court meeting in violation of the First Amendment.            Through the

  individual actions of Defendants and the County Government’s official policy, custom,

  and practice, they prevented Mr. Schnekloth from participating in his constitutionally

  protected right to discuss and speak on issues of local government.

  93. Governments may neither favor one viewpoint nor disfavor another viewpoint. See

  Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 828 (1995).

  Discrimination against speech because of its message is presumed to be

  unconstitutional. See Turner Broadcasting System, Inc. v. FCC, 512 U.S. 622, 641-643

  (1994).


                                             22
Case 5:21-cv-05131-TLB Document 2             Filed 07/20/21 Page 23 of 23 PageID #: 25




  94. Here, the combination of Defendant Wilson and Defendant Deakins removal of Mr.

  Schnekloth after inquiring into his religious beliefs additionally violated his rights under

  Title II of the Civil Rights Act, which prohibits discrimination based on Mr. Schnekloth's

  religious beliefs. The Quorum Court’s official policy, practice, or custom of sanctioning

  viewpoint discrimination and inquiring into constituents’ religious beliefs, is shown by

  the behavior of its officials such as Mr. Wilson asking if Mr. Schnekloth knows Jesus

  personally and JP Pond’s email stating he was praying for Mr. Schnekloth.

                                  PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, Mr. Schnekloth, respectfully requests that the Court:

  95. Award Mr. Schnekloth damages for violations of his federal civil rights and

  injunctive relief for an unconstitutional official policy and custom of detaining and

  removing members of the public in violation of their civil rights.

  96. Award reasonable attorneys fees pursuant to 42 U.S.C. §1988.

  97. Grant any other relief that the Court deems just and proper.



  Dated: July 20, 2021

                                                       Respectfully submitted,
                                                       Clint Schnekloth



                                                   By:_______________________
                                                       Matthew Bender
                                                       AR Bar No 2014105
                                                       PO Box 742 Tontitown, Arkansas
                                                       Phone: (479) 200.3497
                                                       Email: mattbender87@gmail.com

                                                       Attorney for Mr. Schnekloth



                                              23
